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                           EXHIBT A
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                                         EXHIBIT “A”

                             DEPOSITION SUBJECT MATTER

       Pursuant to Rule 30(b)(6), the deponent(s) must have knowledge and shall be able to

testify concerning the following subject matters:

       1.      The identity of any former or current manufacturer of the TVT product or product

components during the relevant time period, including details regarding dates of manufacture

and components or devices produced.

       2.      The identity, location, storage and organization of documentation regarding

clinical studies transferred or received by Defendants from Medscand Medical, Cooper Surgical

Inc., or any other previous manufacturer or distributor of TVT.

       3.      The decision of whether or not to store or destroy the documentation and actual

TVT products and/or exemplars shipped to defendant by Medscand Medical, Cooper Surgical

Inc., or any other previous manufacturer or distributor of TVT.

       4.      The identity, location, storage and organization of documentation regarding shelf

life studies transferred or received by Defendants from Medscand Medical, Cooper Surgical Inc.,

or any other previous manufacturer or distributor of TVT.

       5.      The identity, location, storage and organization of documentation regarding batch

history records transferred or received by Defendants from Medscand Medical, Cooper Surgical

Inc., or any other previous manufacturer or distributor of TVT.

       6.      The identity, location, storage and organization of actual TVT product retains

held by Defendants or their representatives as well as documentation regarding such product

retains transferred or received by Defendants from Medscand Medical, Cooper Surgical Inc, or

any other previous manufacturer or distributor of TVT.
